Case 2:90-cv-00520-KJM-SCR Document 3042-4 Filed 09/16/08 Page1of4

APPENDIX 7
Case 2:90-cv-00520-KJM-SCR Document 3042-4 Filed 09/16/08 Page 2 of 4

Controlled Correspondence and Litigation Management Unit
Executive Summary Report |
June 2008

1. Focus: The following analysis represents the number of correspondence, litigation
issues, and the Inmate Health Care Inquiry Line (Hotline) calls received, processed,
and were overdue for June 2008 compared to May 2008.

2. Source Data: The statistics are derived from. the Controlled Correspondence and
Litigation Management Unit (CCLMU) monthly reports.

3. Correspondence: The following is a breakdown of the total number of
correspondence received, completed, and overdue. (Note: Beginning February 2008,
CCLMU began responding to correspondence sent to the Office of the Receiver.)

June 2008 May 2008
Correspondence Received 424* 244**
Correspondence Completed | 310* 221**
Correspondence Overdue? __| 4* 3.

* — Of the 424 correspondences received, 238 of the correspondences were forwarded
from the Office of the Receiver to CCLMU for processing.

** Of the 244 correspondences received, 109 of the correspondences were forwarded
from the Office of the Receiver to CCLMU for processing.

4. Hotline: The following is a breakdown of the total number of Hotline calls received,
completed and overdue.

June 2008 ‘May 2008
Hotline Calls Received 44 55
Hotline Calls Completed 46 60
Hotline Calls Overdue 0 0

5. Litigation: The following is a breakdown of the total number of litigation issues
received, completed and overdue.

June 2008 May 2008

Litigation Received 55 64
Litigation Completed 53 67
Litigation Overdue 0 0

*NOTE: Overdue correspondences are Merit Awards completed by CCLMU. The
Merit Awards were forwarded to and are pending approval by Mr. Dezemeber’s office.

NOTE: This is a date in time snapshot report, which means there were no overdue
Hotline or Litigation items on June 30, 2008,
Case Centrohea-CorspeindeneeGinelifigation Mana gemeneUniiage 3 of 4
| Executive Summary Report
July 2008

. Focus: The following analysis represents the number of correspondence (including those received
from the California Out-of-State Correctional Facility [COCF], Sacramento Central Office [SACCO}],
and Western Interstate Compact [WIC)]), litigation issues, Inmate Health Care Inquiry Line (Hotline)
calls, and California Prison Health Care Receivership Corporation (CPR) website emails received, :
processed, and were overdue for July 2008 compared to June 2008.

. Source Data: The statistics are derived from the Controlled Correspondence and Litigation
Management Unit (CCLMU) monthly reports.

. Correspondence: The following is a breakdown of the total number of correspondence received,
completed, and overdue. (Note: Beginning June 2008, CCLMU began responding to correspondence
sent to the CPR web-site email, COCF, SACCO, and WIC.)

July 2008 June 2008
Correspondence Received 418* 424**
Correspondence Completed 351* 310**
Correspondence Overdue? | 61* 4*

* Of the 418 correspondences received, 196 of the correspondences were forwarded from the Office
of the Receiver, 57 were from the CPR web-site email, and zero were from COCF to CCLMU for

processing.

** Of the 424 correspondences received, 238 of the correspondences were forwarded from the Office
of the Receiver, 15 were from the CPR web-site email, and 1 was from COCF to CCLMU

for processing.

. Hotline: The following is a breakdown of the total number of Hotline calls received, completed, and
overdue.

July 2008 June 2008
Hotline Calls Received 62 44
Hotline Calls Completed 65 46
Hotline Calls Overdue 0 0

. Litigation: The following is a breakdown of the total number of litigation issues received, completed,
and overdue.

July 2008 June 2008
Litigation Received 61 55
Litigation Completed 53 53
Litigation Overdue 0 0

*NOTE: Four of the overdue correspondences are Merit Awards completed by CCLMU. The Merit
Awards were forwarded to and are pending approval by Mr. Dezember’s office.

NOTE: This is a date in time snapshot report, which means there were no overdue Hotline items on
July 31, 2008.
Case €YinrerolerCorNspe iderkecan? Lithition MiAtagentdat UiiBoe 4 of 4

Executive Summary Report
August 2008

. Focus: The following analysis represents the number of correspondence (including those received
from the California Out-of-State Correctional Facility [COCF], Sacramento Central Office [SACCO],
and Western Interstate Compact [WIC]), litigation issues, Inmate Health Care Inquiry Line (Hotline)
calls, and California Prison Health Care Receivership Corporation (CPR) website emails received,
processed, and were overdue for August 2008 compared to July 2008.

. Source Data: The statistics are derived from the Controlled Correspondence and Litigation
Management Unit (CCLMU) monthly reports.

. Correspondence: The following is a breakdown of the total number of correspondence received,
completed, and overdue. (Note: Beginning June 2008, CCLMU began responding to correspondence
sent to the CPR web-site email, COCF, SACCO, and WIC.)

August 2008 July 2008
Correspondence Received 408* 413**
Correspondence Completed 343 351
Correspondence Overdue* 137* 61*

* Of the 408 correspondences received, 203 were forwarded from the Office of the Receiver, 28
were from the CPR web-site email, and zero was from COCF to CCLMU for processing.

** Of the 418 correspondences received, 196 were forwarded from the Office of the Receiver, 57
were from the CPR web-site email, and zero was from COCF to CCLMU for processing.

. Hotline: The following is a breakdown of the total number of Hotline calls received, completed, and
overdue.

August 2008 July 2008

Hotline Calls Received 4] 62
Hotline Calls Completed 43 65
Hotline Calls Overdue 0 0

. Litigation: The following is a breakdown of the total number of litigation issues received, completed,
and overdue.

August 2008 July 2008
Litigation Received 61 61
Litigation Completed 69 33
Litigation Overdue 0 0

*NOTE: Two of the overdue correspondences are Merit Awards completed by CCLMU. The Merit
Awards were forwarded to and are pending approval by Mr. Dezember’s office.

¢NOTE: This is a date in time snapshot report, which means there were no overdue Hotline or
Litigation items on August 31, 2008.
